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                                 NORTHERN DISTRICT OF CALIFORNIA
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12

13   INTERNATIONAL TECHNOLOGICAL          )     Case No: 18-06228 EJD
     UNIVERSITY FOUNDATION, INC.,         )
14                                        )     DEFENDANTS’ MOTION TO DISMISS
                      PLAINTIFF,          )     PLAINTIFF’S COMPLAINT
15                                        )
          V.                              )     Date: April 11, 2019
16                                        )     Time: 9:00 a.m.
     KIRSTJEN M. NIELSEN, IN HER OFFICIAL )     Courtroom: Courtroom 4, 5th Floor
17   CAPACITY AS SECRETARY OF THE         )     Judge: Hon. Edward J. Davila
     DEPARTMENT OF HOMELAND               )
18   SECURITY, UNITED STATES OF           )
     AMERICA, UNITED STATES               )
19   DEPARTMENT OF HOMELAND               )
     SECURITY, UNITED STATES              )
20   IMMIGRATION AND CUSTOMS              )
     ENFORCEMENT, STUDENT EXCHANGE )
21   AND VISITOR PROGRAM, AND DOES 1      )
     THROUGH 10, INCLUSIVE,               )
22        Defendants.                     )
                                          )
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 1                                             NOTICE OF MOTION

 2 TO PLAINTIFF AND ITS ATTORNEY OF RECORD:

 3          PLEASE TAKE NOTICE that on April 11, 2019, at 9:00 a.m., or as soon thereafter as the matter

 4 may be heard, in Courtroom 4, 5th Floor, San Jose Federal Courthouse, the Honorable Edward J. Davila

 5 presiding, Defendants Kirsjten M. Nielsen, in her official capacity as Secretary of the Department of

 6 Homeland Security, United States of America, U.S. Department of Homeland Security, and U.S.

 7 Immigration and Customs Enforcement, Student and Exchange Visitor Program (collectively,

 8 “Defendants”) 1, by and through their undersigned counsel, will appear and move the Court for an order

 9 dismissing Plaintiff’s Complaint pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).
10          This motion is based on this Notice, the Court’s files and records in this action, the Complaint,

11 the attached Memorandum of Points and Authorities, the Court’s files and records in this matter and/or

12 other matters of which the Court takes judicial notice, and any oral argument that may be presented to

13 the Court.

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28            Plaintiff has also named Does 1-10 as Defendants without any further identifying information
     or specific claims against them. (Compl., ¶ 16).
     DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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 1                             MEMORANDUM OF POINTS AND AUTHORITIES

 2 I.       INTRODUCTION

 3          Plaintiff International Technological University (“ITU”) brings this action to challenge the

 4 Department of Homeland Security’s Student Exchange Visitor Program’s (“SEVP”) allegedly improper

 5 retention of a document that ITU claims is an attorney-client privileged memorandum. Plaintiff further

 6 alleges that SEVP has improperly relied on this document in its ongoing administrative action to

 7 withdraw ITU’s certification to enroll nonimmigrant students and issue to such current and prospective

 8 students a document that is required to apply for an F-1 student visa: Form I-20 (Certificate of

 9 Eligibility for Nonimmigrant Student Status). Plaintiff’s Complaint asserts four claims against
10 Defendants: (1) Declaratory Relief for Violation of Fifth Amendment Due Process Rights and Federal

11 Common Law under 28 U.S.C. § 2201; (2) Declaratory Relief under the Administrative Procedures Act

12 – 5 U.S.C § 706; (3) Injunctive Relief under the Administrative Procedures Act – 5 U.S.C. § 706; and

13 (4) Relief under the Mandamus and Venue Act and All Writs Act – 28 U.S.C. §§ 1361 and 1651. Each

14 of Plaintiff’s claims should be dismissed for the following reasons.

15          First, this Court lacks subject matter jurisdiction over most of Plaintiff’s claims. The general

16 jurisdictional statutes, 28 U.S.C §§ 1331 and 1361, do not waive sovereign immunity. Because a final

17 agency action has yet to be issued, as Plaintiff’s Complaint concedes, this Court lacks jurisdiction over

18 Plaintiff’s APA claims. In addition, because Plaintiff has not specified a nondiscretionary duty that

19 Defendants failed to perform, the court lacks jurisdiction under both the Mandamus and Venue Act and

20 the All Writs Act. Moreover, the Declaratory Judgment Act, 28 U.S.C. § 2201 (“DJA”), is not an

21 independent source of jurisdiction. Instead, it only provides the remedy of declaratory relief where

22 jurisdiction already exists. Because Plaintiff has failed to sufficiently allege any violation of its due

23 process rights pursuant to the Fifth Amendment, its Declaratory Judgment Act must be also dismissed.

24          Second, Plaintiff’s Complaint fails to state a claim on which relief can be granted. In addition to

25 Plaintiff’s failure to identify a final agency action that would support its APA claims, Plaintiff also fails

26 to sufficiently allege that its due process rights were violated or that the federal defendants have violated

27 its rights pursuant to the Mandamus or the All Writs Act.

28          Accordingly, Plaintiff’s Complaint should be dismissed in its entirety.

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 1 II.      RELIEF REQUESTED

 2          Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defendants request an order

 3 granting their motion to dismiss Plaintiff’s claims for lack of subject matter jurisdiction and further that

 4 Plaintiff failed to state a claim on which relief can be granted.

 5 III.     ISSUES TO BE DECIDED

 6          1.      Whether Plaintiff’s First Claim for Relief for violation of its due process rights pursuant

 7 to the Fifth Amendment must be dismissed for failure to state a claim in the absence of any

 8 constitutionally protected right.

 9          2.      Whether Plaintiff’s Second and Third Claims for injunctive and declaratory relief

10 pursuant to the APA must be dismissed for lack of subject matter jurisdiction in the absence of any final

11 agency action.

12          3.      Whether Plaintiff’s Fourth Claim for Relief pursuant to the Mandamus and Venue Act

13 and All Writs Act should be dismissed for lack of subject matter jurisdiction because Plaintiff has not

14 specified a nondiscretionary duty that Defendants failed to perform.

15          4.      Whether Plaintiff’s Complaint fails to state a claim on which relief can be granted.

16 IV.      BACKGROUND

17          A.      Regulatory Framework

18          Because this case revolves around SEVP’s administrative action to revoke ITU’s certification to

19 issue the Form I-20 to current and prospective nonimmigrant students, a brief background on the statutes

20 and regulations governing SEVP’s authority to both grant and revoke such certification is warranted.

21                  1.     Nonimmigrant Student Status

22          “Nonimmigrant” classifications convey permission for a foreign national to enter the United

23 States temporarily for a specific purpose. The F-1 nonimmigrant student classification allows foreign

24 nationals to come to the United States to pursue a full course of study at an approved school or

25 educational program. 8 U.S.C. § 101(a)(15)(F)(i). To qualify for an F-1 visa, a foreign national is

26 required to (1) apply and gain admission to an approved U.S. educational institution, (2) obtain a Form

27 I-20, Certificate of Eligibility for Nonimmigrant Student Status, issued by the school, and (3) submit a

28 visa application at the U.S. Embassy or Consulate where the foreign national resides. 8 C.F.R. §

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 1 214.2(f)(1). The foreign national is required to demonstrate both an intent to pursue a full course of

 2 study at the school named on the Form I-20 as well as an intent to leave the United States upon

 3 completion of the course of study or a defined period of authorized practical training. 8 C.F.R. §

 4 214.2(f)(5). F-1 visa-holders are admitted for “duration of status,” meaning the student is authorized to

 5 stay in the United States while he or she is pursuing a full course of study at an approved educational

 6 institution or engaging in authorized practical training following the completion of his or her studies. Id.

 7                  2.     SEVP Certification and Withdrawal of Certification

 8          The Student and Exchange Visitor Program (SEVP), a program within U.S. Immigration and

 9 Customs Enforcement (ICE), manages the authorization process for U.S. educational institutions seeking
10 to enroll nonimmigrant students. Once certified, SEVP continues to monitor institutions for continued

11 eligibility and compliance with the governing regulations. Congress has enacted several statutes meant

12 to eliminate potential vulnerabilities related to nonimmigrant student visas. The Illegal Immigration

13 Reform and Immigrant Responsibility Act (IIRIRA) of 1996 mandated the development of a program to

14 collect data on and improve the tracking of foreign students. In 2001, Congress expanded the foreign

15 student tracking system when it enacted the Uniting and Strengthening America by Providing

16 Appropriate Tools Required to Intercept and Obstruct Terrorism Act (USA PATRIOT ACT). In 2002,

17 Congress strengthened the tracking system, through the Enhanced Border Security and Visa Entry

18 Reform Act of 2002, (EBSVERA), noting national security concerns and emphasizing the need to

19 carefully track student status. EBSVERA instituted a two-year recertification process for all SEVP-

20 certified schools, requiring them to demonstrate continued eligibility for SEVP certification, including

21 compliance with all record-keeping and reporting requirements. In 2010, to prevent visa fraud,

22 Congress enacted the Accreditation of English Language Training Programs Act, which required all

23 English language training programs to be accredited by an accrediting agency recognized by the U.S.

24 Department of Education to enroll nonimmigrant students.

25          Any school that wishes to enroll a nonimmigrant student on an academic or vocational visa (F-1

26 or M-1 visa respectively) must first obtain SEVP certification by demonstrating that it is, among other

27 things, a “bona fide school,” and an “established institution of learning,” “possesses the necessary

28 facilities, personnel, and finances to conduct instruction in recognized courses,” and “is, in fact, engaged

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 1 in instruction in those courses.” 8 C.F.R. § 214.3(a)(3)(i). In order to obtain SEVP certification, the

 2 petitioning school must submit a Form I-17 to inform SEVP of the type of school and the programs for

 3 which it seeks approval to enroll nonimmigrant students and to certify that the designated school official

 4 (“DSO”) has read and understood the relevant federal regulations. See 8 C.F.R. § 214.3(a)(1)(ii).

 5 Schools are only allowed to enroll nonimmigrant students in the programs that are listed on their Form I-

 6 17 and only after SEVP has approved the school’s certification. 8 CFR § 214.3(e)(2), (f)(1).

 7          On behalf of the U.S. Department of Homeland Security, SEVP uses the Student and Exchange

 8 Visitor Information System (SEVIS) to track and monitor U.S. educational institutions that enroll

 9 nonimmigrant students, as well as foreign students who are present in the United States pursuant to F or
10 M status. 8 C.F.R. § 214.2(f)(1)(iii). Each SEVP-certified school appoints a principal designated school

11 official (“PDSO”), and may appoint additional DSOs, to carry out its record-keeping, reporting, and

12 other SEVP-related responsibilities. 8 C.F.R. § 214.3(l). By maintaining records in SEVIS, the officials

13 serve as a link between nonimmigrant students and SEVP as they play a central role in ensuring that

14 nonimmigrant students maintain status while in the United States. See id., generally. The PDSO and

15 DSOs share many of the same responsibilities, including the issuance of Forms I-20 to foreign students,

16 but the PDSO serves as the point of contact for SEVP on any issue that relates to the school’s regulatory

17 compliance as well as any system alerts generated by SEVIS. 8 CFR § 214.3(l)(1)(ii). SEVIS can only

18 be accessed by authorized users. 8 C.F.R. § 214.3(g). The PDSO and other DSOs are each assigned a

19 user name and password that provides secure access to SEVIS records and allows SEVP to track the

20 transactions performed by that specific PDSO or DSO.

21          Schools that fail to comply with the above-described record-keeping and reporting requirements,

22 or fail to follow the regulatory provisions concerning school certification and/or nonimmigrant student

23 status, are subject to the withdrawal of their SEVP certification. 8 C.F.R. § 214.4. To commence a

24 withdrawal proceeding, SEVP issues a Notice of Intent to Withdraw (NOIW) to the school informing it

25 of the reasons for the withdrawal. 8 C.F.R. § 214.4(b). The school then has an opportunity to respond

26 to the alleged violations. See id. If, after consideration of the school’s response to the NOIW, SEVP

27 decides to withdraw a school’s certification, SEVP will issue a Withdrawal on Notice (“WON”). The

28 school then may appeal to the Administrative Appeals Team (“the AAT”), an internal appeals body

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 1 within ICE, and thereafter to federal court. 8 C.F.R. § 214.4(h).

 2          B.      Plaintiff’s Allegations

 3          In considering a motion to dismiss, the pleadings are construed in the light most favorable to the

 4 nonmoving party, and all well-pleaded facts alleged in the complaint are taken as true. Lujan v. Nat'l
   Wildlife Federation, 497 U.S. 871, 889 (1990); Peloza v. Capistrano Unified Sch. Dist., 37 F.3d 517,
 5
   521 (9th Cir. 1994). Therefore, Plaintiff’s allegations cited herein are taken from Plaintiff’s October 11,
 6
   2018 Complaint and are assumed true for purposes of this motion only.
 7
                   1.      ITU’s SEVP Certification
 8
           ITU is a non-profit organization operating a university accredited by the Western Association of
 9
   Schools and Colleges Senior Commission for Universities and Colleges (“WASC”). Compl., ¶ 20. ITU
10
   earned WASC accreditation in February 2013. Compl., ¶ 21. ITU offers degree programs in business
11
   administration, computer engineering, digital arts, electrical engineering, engineering management, and
12
   software engineering. Id. at ¶ 11. ITU is headquartered in San Jose, California. Id. ITU obtained
13
   SEVP certification in 2003. Id. at ¶ 33.
14
                   2.      ITU’s Outside Counsel Investigation
15
           ITU claims that it engaged the law firm of Nolan, Barton & Olmos LLP (“the Nolan firm”) to
16
   investigate concerns regarding ITU’s student records in May 2014. Compl., ¶ 30. It further alleges that
17
   David Olmos, an attorney with the Nolan firm, led the investigation with support from colleagues. See
18
   id. In September 2014, when the investigation was complete, Olmos authored a memorandum to ITU.
19
   See id. The final version of the memo is dated October 6, 2014. See id. ITU asserts that the memo
20
   “contains the Nolan Law Firm’s thoughts and impressions as counsel to ITU.” See id.
21
           ITU alleges that the Nolan firm advised it regarding its SEVP certification during and after the
22
   internal investigation, and that ITU understood that the investigation, resulting report and related advice
23
   provided by the Nolan firm were attorney-client privileged. See id. at ¶ 31. ITU also alleges that the
24
   Nolan Memorandum is attorney work product. See id. Finally, it alleges that ITU never authorized the
25
   production of the Nolan Memorandum to any third party. See id.
26
                   3.      SEVP’s Administrative Action To Withdraw ITU’s Certification and ITU’s
27                         Claims of Privilege and Demands for Return of the Nolan Memorandum

28          On July 26, 2016, SEVP served ITU with a Notice of Intent to Withdraw, which described the

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 1 alleged misconduct of former school administrators as a ground for the revocation of ITU’s certification.

 2 Compl., ¶ 34. The NOIW stated that “[o]n January 13, 2015, SEVP received a copy of an October 6,

 3 2014 report commissioned by International Technological University on May 2, 2014 summarizing an

 4 investigation ‘regarding ITU[’s] response to January 2014 Student and Exchange Visitor Program

 5 Request for Evidence, Including History of Related Conduct.’” See id. ITU claims that it did not know

 6 that SEVP had received a copy of this report prior to the receipt of the NOIW. See id. at ¶ 35.

 7           On August 26, 2016, ITU sent a letter to Timothy Hicks, Chief of SEVP’s Analysis and

 8 Operations Center. The letter asserted that the document cited in the NOIW, identified by ITU as the

 9 Nolan Memorandum, was protected by the attorney-client privilege and that ITU had not authorized
10 SEVP to receive a copy. See id. at ¶ 36(a). The letter directed SEVP to return the document to ITU.

11 See id.

12           On September 6, 2016, ITU received a letter from Beth Gibble, SEVP, Homeland Security

13 Investigations, denying that the Nolan Memorandum was an attorney-client privileged document. See

14 id. at ¶ 36(b). Gibble asserted that any “privilege was waived by its intentional disclosure or lost by

15 ITU’s failure to timely assert or reasonably protect the privilege.” Id. ITU and SEVP continued to

16 correspond about ITU’s privilege assertion in September and October 2016. See id. at ¶ 36(c)-(f).

17           On September 26, 2016, ITU formally responded to the NOIW in a letter brief supported by

18 witness declarations and documents. See id. at ¶ 37. ITU’s response included a request for an interview

19 with SEVP, as permitted by SEVP regulations. See id., see also 8 C.F.R. § 214.4(f). ITU’s response

20 reiterated to SEVP that it believed SEVP was improperly relying on attorney-client privileged

21 information and renewed its request for the return of the Nolan Memorandum. See id. at ¶ 38.

22           On July 18, 2017, SEVP served ITU with a Withdrawal on Notice (“2017 Withdrawal”)

23 announcing that it was withdrawing ITU’s certification. See id. at ¶ 39. ITU appealed the 2017

24 Withdrawal on the grounds that SEVP had denied its request for a telephonic interview and that its

25 continued reliance on the memorandum was a violation of ITU’s due process rights. See id. at ¶ 40. On

26 September 28, 2017, SEVP rescinded its 2017 Withdrawal and reopened the proceedings. See id. at

27 ¶ 41. SEVP then interviewed ITU via telephone on October 18, 2017. See id. ITU asserts that the

28 interview was insufficient. See id.

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 1          On April 18, 2018, SEVP issued to ITU a new Withdrawal on Notice (the “2018 Withdrawal”)

 2 again announcing that it was withdrawing ITU’s certification. See id. at ¶ 42. The 2018 Withdrawal

 3 stated that SEVP disagreed that the Nolan Memorandum was privileged or, alternatively, that any

 4 applicable privilege was waived. See id. at ¶ 43. ITU appealed the 2018 Withdrawal. See id.

 5          On August 6, 2018, ITU wrote to Ms. Glasoe of SEVP and reiterated its assertion that SEVP was

 6 obligated to return or destroy all copies of the Nolan Memorandum. See id. at 44.

 7          C.      Procedural History and Plaintiff’s Claims

 8          On October 11, 2018, ITU filed a Complaint in federal district court. It named as defendants

 9 Kirstjen M. Nielsen, in her official capacity as Secretary of the Department of Homeland Security
10 (“DHS”), the United States, DHS, United States Immigration and Customs Enforcement, SEVP, and

11 Does 1 through 10, inclusive. ITU brought this action because it alleges SEVP “has been in the

12 unauthorized possession of a privileged communication between ITU and its counsel,” “has refused to

13 return the document or reveal how it came into possession of the document;” and “has instead relied on

14 the document to attempt to revoke ITU’s ability to admit nonimmigrant students, a potential death knell

15 for the school.” Compl., at ¶ 2. ITU asserts the following claims for relief: (1) Declaratory Relief for

16 Violation of Fifth Amendment Due Process Rights and Federal Common Law under 28 U.S.C. § 2201;

17 (2) Declaratory Relief under the Administrative Procedures Act, 5 U.S.C. § 706; (3) Injunctive Relief

18 under the Administrative Procedures Act, 5 U.S.C. § 706; and (4) Relief under the Mandamus and

19 Venue Act and All Writs Act, 28 U.S.C. §§ 1361 and 1651.

20 V.       STANDARDS OF REVIEW

21          A.      Rule 12(b)(1)

22          Under Federal Rule of Civil Procedure 12(b)(1), the court should dismiss a complaint where the

23 plaintiff has failed to establish the court’s subject matter jurisdiction. The plaintiff bears the burden of

24 establishing subject matter jurisdiction. See Ashoff v. City of Ukiah, 130 F.3d 409, 410 (9th Cir. 1997).

25 A court must presume lack of subject matter jurisdiction until the plaintiff establishes otherwise.

26 Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). On a motion to dismiss for lack

27 of subject matter jurisdiction, the court is not “restricted to the face of the pleadings, but may review any

28 evidence, such as affidavits and testimony, to resolve factual disputes concerning the existence of

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 1 jurisdiction.” McCarthy v. United States, 850 F.2d 558, 560 (9th Cir. 1988). “Once the moving party

 2 [converts] the motion to dismiss into a factual motion by presenting affidavits or other evidence properly

 3 brought before the court, the party opposing the motion must furnish affidavits or other evidence

 4 necessary to satisfy its burden of establishing subject matter jurisdiction.” Savage v. Glendale Union

 5 High Sch., 343 F.3d 1036, 1040 n.2 (9th Cir. 2003). A motion to dismiss for failure to exhaust

 6 administrative remedies may be brought as a 12(b)(1) motion. See Benson v. JP Morgan Chase Bank,

 7 N.A., 673 F.3d 1207, 1211 (9th Cir. 2012).

 8          B.      Rule 12(b)(6)

 9          On a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a district court must

10 dismiss the complaint if it fails to state a claim upon which relief can be granted. A court should grant

11 dismissal pursuant to Rule 12(b)(6) where there is either a “lack of cognizable legal theory” or “the

12 absence of sufficient facts under a cognizable legal theory.” Balistreri v. Pacifica Police Dep’t, 901

13 F.2d 696, 699 (9th Cir. 1990). That standard “requires more than labels and conclusions, and a

14 formulaic recitation of the elements of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550

15 U.S. 544, 555 (2007). When considering a Rule 12(b)(6) motion, a Court typically must accept all

16 allegations and material facts as true and must construe those facts in favor of the plaintiff. Sprewell v.

17 Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001). However, a “court [is not] required to accept

18 as true allegations that are merely conclusory, unwarranted deductions of fact, or unreasonable

19 inferences.” Id. “In spite of the deference the court is bound to pay to the plaintiff’s allegations, it is not

20 proper for the court to assume that ‘the [plaintiff] can prove facts that [he or she] has not alleged or that

21 defendants have violated the . . . laws in ways that have not been alleged.’” Limon v. Rodriguez v. U.S.

22 Dep’t of Homeland Sec., 2012 WL 1416274, at *2 (S.D. Cal. Apr. 24, 2012) (quoting Associated Gen.

23 Contractors of Cal., Inc. v. Cal. State Council of Carpenters, 459 U.S. 519, 526 (1983)).

24          To survive a motion to dismiss, a plaintiff must allege “enough facts to state a claim to relief that

25 is plausible on its face.” Twombly, 550 U.S. at 570. “A claim has facial plausibility when the plaintiff

26 pleads factual content that allows the court to draw the reasonable inference that the defendant is liable

27 for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The plausibility standard

28 asks for more than a sheer possibility that a defendant has acted unlawfully.” Id. The facts alleged

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 1 “must be enough to raise a right to relief above the speculative level.” Twombly, 550 U.S. at 570.

 2 “Where a complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it ‘stops short

 3 of the line between possibility and plausibility of entitlement to relief.’” Iqbal, 556 U.S. at 678 (quoting

 4 Twombly, 550 U.S. at 557).

 5 VI.      ARGUMENT

 6          A.      This Court Lacks Subject Matter Jurisdiction Over Plaintiff’s Claims

 7          As a basis for jurisdiction, Plaintiff’s Complaint invokes the general jurisdictional statutes found

 8 at 28 U.S.C. § 1331 and 1361, the limited waiver of sovereign immunity in the APA (5 U.S.C. §§ 702 to

 9 706), the DJA (28 U.S.C. § § 2201 to 2202), and the All Writs Act (28 U.S.C. § 1651). See Compl., ¶
10 17. None, however, authorize Plaintiff’s claims against Defendants.

11                  1.      Plaintiff Fails To Establish Any Waiver of Sovereign Immunity Pursuant to
                            the General Jurisdictional Provision in 28 U.S.C. § 1331 or § 1361.
12
            “It is elementary that the United States, as sovereign, is immune from suit except as it consents
13
     to be sued, and the terms of its consent to be sued in any court define that court’s jurisdiction to entertain
14
     the suit.” United States v. Mitchell, 445 U.S. 535, 538 (1980) (citing United States v. Sherwood, 312
15
     U.S. 548, 586 (1941). Waivers of sovereign immunity must be “unequivocally expressed in the
16
     statutory text...strictly construed in favor of the United States...not enlarged beyond what the language of
17
     the statute requires.” United States v. Idaho, 508 U.S. 1, 6-7 (1993) (internal quotations and citations
18
     omitted); see also Tobar v. United States, 639 F.3d 1191, 1195 (9th Cir. 2011). Before a court may
19
     exercise jurisdiction over any suit against the United States, it must have a clear statement that the
20
     government has waived sovereign immunity, together with a claim falling within the terms of that
21
     waiver. United States v. White Mountain Apache Tribe, 537 U.S. 465, 472 (2003). The general
22
     principle that the United States cannot be sued without the consent of Congress extends to federal
23
     agencies. FDIC v. Meyer, 510 U.S. 471, 475 (1994). In addition, this includes suits against federal
24
     officers in their official capacities to compel them to act. Dugan v. Rank, 372 U.S. 609, 621-22 (1963).
25
     Plaintiff has the burden of finding and proving an explicit waiver of sovereign immunity. Dunn & Black
26
     P.S. v. United States, 492 F.3d 1084, 1088 (9th Cir. 2007); see also McNutt v. General Motors
27
     Acceptance Corp. Of Indiana, 298 U.S. 178, 188-89 (1936).
28

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 1          As a basis for jurisdiction, Plaintiff’s Complaint invokes general jurisdictional statutes found at

 2 28 U.S.C. §§ 1331 and 1361. It is well-established, however, that these grants of jurisdiction do not

 3 constitute waivers of sovereign immunity. Section 1331 affords a grant of jurisdiction to the district

 4 courts for matters raising federal questions. Although Section 1331 “provides that the district court shall

 5 have original jurisdiction in all civil actions arising under the Constitution, laws, or treaties of the United

 6 States,” it “cannot by itself be construed as constituting a waiver of the government’s defense of

 7 sovereign immunity.” 28 U.S.C. § 1331, Dunn & Black, P.S., 492 F.3d at 1088 (quoting Gilbert v.

 8 DaGrossa, 756 F.2d 1455, 1458-59 (9th Cir. 1985). Similarly, section 1361, the mandamus statute,

 9 provides that “[t]he district courts shall have original jurisdiction of any action in the nature of
10 mandamus to compel an officer or employee of the United States or any agency thereof to perform a

11 duty owed to the plaintiff.” 28 U.S.C. § 1361. It is well settled that this statute does not, by itself, waive

12 sovereign immunity. See Hou Hawaiians v. Cayetano, 183 F.3d 945, 947 (9 Cir. 1999); see also Smith

13 v. Grimm, 534 F.2d 1346, 1352 n9 (9th Cir. 1976).

14          Accordingly, Plaintiff has failed to establish that the United States has waived its sovereign

15 immunity pursuant to the jurisdictional provision in 28 U.S.C. §§ 1331 and 1361.

16                  2.      There is No Subject Matter Jurisdiction Over Plaintiff’s APA Claims
                            Because, as Plaintiff Acknowledges, There Has Been No Final Agency Action.
17
                            (i)     The APA’s limited waiver of sovereign immunity does not apply in the
18                                  absence of a final agency action.

19          Plaintiff has failed to allege any final agency action that is subject to judicial review pursuant to

20 the APA. Importantly, without final agency action, the limited waiver of sovereign immunity under the

21 APA does not apply and the case must be dismissed for lack of subject matter jurisdiction.

22          Plaintiff seeks declaratory and injunctive relief pursuant to Section 706(2) of the APA on the

23 grounds that Defendants have violated the Due Process Clause by failing to promptly return the Nolan

24 Memorandum to ITU, and by “possessing, concealing, reviewing, and using” it to withdraw ITU’s

25 SEVP certification. See Compl., ¶ 58-78. Section 706(2) of the APA provides that a court shall:...

26                  hold unlawful and set aside agency action, findings, and conclusions found
                    to be
27
                    (A) arbitrary, capricious, an abuse of discretion, or otherwise not in
28                  accordance with the law,

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 1                  (B) contrary to constitutional right, power, privilege, or immunity;

 2                  (C) in excess of statutory jurisdiction, authority, or limitations, or short of
                    statutory right;
 3
                    (D) without observance of procedure required by law;
 4
                    (E) unsupported by substantial evidence in a case subject to sections 556
 5                  and 557 of this title or otherwise reviewed on the record of an agency
                    hearing provided by statute; or
 6
                    (F) unwarranted by the facts to the extent that the facts are subject to trial
 7                  de novo by the reviewing court.

 8          5 U.S.C. § 706(2). To obtain judicial review, however, Plaintiff must challenge a final agency

 9 action or “[a]gency action made reviewable by statute.” 5 U.S.C. § 704; see also Lujan v. Nat’l Wildlife
10 Fed’n, 497 U.S. 871, 882 (1990); see also Oregon Natural Dessert Ass’n v U.S. Forest Serv., 465 F.3d

11 977, 982 (9th Cir. 2006). “Only final agency decisions are subject to review under the APA.” Pac.

12 Coast Fed. of Fishermen’s Ass’n Inc. v. Nat. Marine Fisheries Serv., 265 F.3d 1028, 1033 (9th Cir

13 2001); 5 U.S.C. § 704. “[F]inality is, where applicable, a jurisdictional requirement . . . . Therefore, a

14 finding of finality, or of an applicable exception, is essential when the court’s reviewing authority

15 depends on one of the many statutes permitted appeal only of final agency action, such as § 10 of the

16 APA, 5 U.S.C. § 704.” Ukiah Valley Med. Ctr. v. Fed. Trade Comm’n, 911 F2d 261, 264 n. 1 (9th Cir.

17 1990) (internal citation and quotation marks omitted) (emphasis original). If there has been no final

18 agency action, Plaintiff’s claim must be dismissed for lack of subject-matter jurisdiction. See Fairbanks

19 N. Star Borough v. U.S. Army Corp. of Eng’rs, 543 F.3d 586, 591 (9th Cir. 2008) (finality is a

20 jurisdictional requirement to obtaining judicial review under the APA) (internal citations omitted).

21          “Two conditions must be satisfied for agency action to be ‘final’: First, the action must mark the

22 ‘consummation’ of the agency's decisionmaking process . . . it must not be of a merely tentative or

23 interlocutory nature. And second, the action must be one by which ‘rights or obligations have been

24 determined,’ or from which ‘legal consequences will flow.’" U.S. Army Corps of Eng. v. Hawks Co.,

25 136 S. Ct. 1807, 1813 (2016) (internal quotations and citations omitted); Bennett v. Spear, 520 U.S. 154

26 (1997) (internal citation omitted); Pac. Coast Fed. of Fishermen’s Ass’n Inc., 265 F.3d at 1033; City of

27 San Diego v. Whitman, 242 F.3d 1097, 1102 (9th Cir. 2011) (for an agency action to be final it must

28 “impose an obligation, deny a right or fix some legal relationship.”). When an action is not a

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 1 “definitive” statement of the agency’s position and does not have a “direct and immediate . . . effect on

 2 the day-to-day business” on the subject party, it is not “final.” Ukiah Valley Med. Ctr., 911 F.2d at 264

 3 (explaining that the Federal Trade Commission’s issuance of a complaint against the plaintiff did not in

 4 itself constitute a definitive determination that the agency had jurisdiction; rather, that issue was still

 5 pending before the administrative law judge and could be resolved in the plaintiff’s favor).

 6          Here, Plaintiff fails to sufficiently allege that there has been a final agency action. In fact, to the

 7 contrary, Plaintiff’s Complaint concedes that the agency’s “final adjudication of ITU’s certification is

 8 not yet complete.” Id. at ¶ 50. In light of this admission acknowledging the pendency of its appeal with

 9 ICE, Plaintiff has not established that it may avail itself of the limited waiver of sovereign immunity
10 pursuant to the APA for judicial review of final agency actions, see Gallo Cattle Co. v. U.S. Dep’t of

11 Agric., 159 F.3d 1194, 1198 (9th Cir. 1998), and its APA claims must be dismissed for lack of subject-

12 matter jurisdiction. Fairbanks N. Star Borough, 543 F.3d at 591.

13          At best, Plaintiff’s allegations amount to a substantive challenge of ICE’s ongoing evaluation of

14 Plaintiff’s certification, and the retention of materials provided to the agency. SEVP’s retention of the

15 Nolan Memorandum in connection with its administrative process is not the consummation of the

16 agency’s decision-making. Nor is it an action by which rights or obligations have been determined, or

17 from which legal consequences will flow. Notably, Plaintiff also has not sufficiently articulated an

18 applicable exception that would overcome this jurisdictional bar to review. As a result, SEVP’s

19 retention of the Nolan Memorandum, standing alone, is not reviewable under the APA.

20          Accordingly, Plaintiff has failed to sufficiently allege that the United States has waived its

21 sovereign immunity with respect to Plaintiffs' Second and Third claims for relief.

22                          (ii)    Plaintiff’s APA claims are not ripe and have not been administratively
                                    exhausted.
23
            Because the agency’s adjudication of ITU’s certification is ongoing, by way of ITU’s appeal of
24
     the 2018 Withdrawal, Plaintiff’s APA claim should be dismissed on ripeness and exhaustion grounds.
25
     See Compl., ¶ 49-50 (asserting that ITU appealed the 2018 Withdrawal and the agency’s final
26
     adjudication of that appeal is not yet complete). The ripeness doctrine avoids “premature adjudication”
27
     of disputes, Scott v. Pasadena Unif. Sch. Dist., 306 F.3d 646, 662 (9th Cir. 2002), and “prevents courts
28

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 1 from deciding abstract issues that have not yet had a concrete impact on the parties,” Vieux v. E Bay

 2 Reg’l Park Dist., 906 F.2d 1330, 1344 (9th Cir. 1990). To determine whether a claim is ripe for judicial

 3 review, courts focus on “(1) the fitness of the issues for judicial decision, and (2) the hardship to the

 4 parties of withholding court consideration.” Nat’l Park Hospitality Ass’n v. Dep’t of Interior, 538 U.S.

 5 803, 808 (2003).

 6          Under the related doctrine of exhaustion, exhaustion of administrative matters is judicially

 7 imposed as a prudential matter where (1) agency expertise makes agency consideration necessary to

 8 generate a proper record and generate a proper decision, (2) relaxation of the requirement would

 9 encourage the deliberate bypass of the administrative schedule, and (3) administrative review is likely to
10 allow the agency to correct its own mistakes and to preclude the need for judicial review. See Liang v.

11 Ashcroft, 370 F.3d 994, 997-98 (9th Cir. 2004) (“Under the doctrine of exhaustion, ‘no one is entitled to

12 judicial relief for a supposed or threatened injury until the prescribed ... remedy has been exhausted.’

13 Exhaustion can be either statutorily or judicially required) (quoting McKart v. United States, 395 U.S.

14 185, 193 (1969)); Puga v. Chertoff, 488 F.3d 812, 815 (9th Cir. 2007); Sheikh v. Lynch, 2015 WL

15 7731802, at * 2 (N.D. Cal. Dec. 1, 2015); cf. Ukiah Valley Med. Ctr, 911 F.2d at 266-67 & n1

16 (discussing the relation between finality, ripeness and exhaustion in administrative law, but noting that

17 “a finding of finality, or an applicable exception, is essential when the court’s reviewing authority

18 depends on one of the many statutes permitting appeal only of ‘final’ agency action, such as § 10 of the

19 APA, 5 U.S.C. § 704”).

20          Ripeness and exhaustion considerations weigh in favor of requiring the completion of the

21 agency’s adjudication, as ITU elected to appeal the withdrawal of its certification and this appeal is

22 pending with the agency. This process relates to a matter within the agency’s expertise: compliance

23 with the regulatory provisions concerning school certification and/or nonimmigrant student status. 8

24 C.F.R. § 214.4. ITU has affirmatively exercised its right to request an appellate review of the

25 withdrawal of its SEVP certification and this administrative review is ongoing. Moreover, ITU has

26 conceded that the agency’s “final adjudication of ITU’s certification is not yet complete.” Id. at ¶ 50.

27 Accordingly, Plaintiff’s APA claim should be dismissed as premature.

28

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 1                   3.     Plaintiff Has Failed To Sufficiently Allege That This Court Has Jurisdiction
                            Pursuant To The Mandamus And Venue Act And All Writs Act.
 2
                            (i)     This Court lacks subject matter jurisdiction pursuant to the
 3                                  Mandamus and Venue Act because Plaintiff failed to specify a
                                    nondiscretionary duty that Defendants failed to perform.
 4
            Plaintiffs have failed to establish that this Court has subject matter jurisdiction over its claim for
 5
     relief pursuant to the Mandamus & Venue Act of 1962 (“MVA”), 28 U.S.C. § 1361. Under the MVA,
 6
     “[t]he district courts shall have original jurisdiction of any action in the nature of mandamus to compel
 7
     an officer or employee of the United States or any agency thereof to perform a duty owed to the
 8
     plaintiff.” 2 See id. The writ of mandamus “is a drastic and extraordinary remedy reserved for really
 9
     extraordinary causes.” United States v. Guerrero, 693 F.3d 990, 999 (9th Cir. 2012) (quoting Cheney v.
10
     U.S. Dist. Court, 542 U.S. 367, 380 (2004)). It will only lie when a plaintiff's claim is certain and the
11
     duty of an officer is plainly prescribed. Tucson Airport Authority v. General Dynamics Corp., 136 F.3d
12
     641, 644 (9th Cir. 1998); Nova Stylings v. Ladd, 695 F.2d 1179, 1180 (9th Cir. 1983). Thus, to invoke
13
     jurisdiction, the act “to be compelled must be mandatory or ministerial and not discretionary.”
14
     Kennecott Copper Corp. v. Costle, 572 F.2d 1349, 1356 (9th Cir. 1978) (citing Short v. Murphy, 512
15
     F.2d 374 (6th Cir. 1975) and United States v. Walker, 409 F.2d 477, 481 (9th Cir. 1969)). Further, the
16
     existence of alternate remedies precludes reliance on this section. Id. (citing Cartier v. Secretary of
17
     State, 506 F.2d 191 (D.C. Cir. 1974), cert. denied, 421 U.S. 947 (1975)); Nova Stylings at 1180.
18
            Subject matter jurisdiction under § 1361 will lie only if “(1) the individual's claim is clear and
19

20
            2
21             Plaintiff’s Complaint does not make any specific reference to the provision of the APA that
     allows a court to compel “agency action unlawfully withheld or unreasonably delayed.” 5 U.S.C.
22   § 706(1) (see Compl., ¶ 59 and 70, both citing 5 U.S.C. 706(2) as the grounds for the requested relief).
     Defendants note that the jurisdictional dimensions of the APA and the Mandamus Act are considered
23   coextensive for purposes of compelling agency action that has been unreasonably delayed. Where the
     relief sought is identical under the APA and the mandamus statute, proceeding under one as opposed to
24   the other is not significant. See Dong v. Chertoff, 513 F.Supp.2d 1158, 1161–62 (N.D.Cal. 2007) (citing
     Independence Mining Co. v. Babbitt, 105 F.3d 502, 507 (9th Cir.1997); Hernadez–Avalos v. I.N.S., 50
25   F.3d 842, 845 (10th Cir.1995) (citation omitted) (“ ‘[a] mandatory injunction [issued under the APA] ...
     is essentially in the nature of mandamus' ”)). “Although the exact interplay between these two statutory
26   schemes has not been thoroughly examined by the courts, the Supreme Court has construed a claim
     seeking mandamus under the MVA [Mandamus and Venue Act], ‘in essence,’ as one for relief under §
27   706 of the APA.” Independence Mining, 105 F.3d at 507 (citing Japan Whaling Ass'n v. Am. Cetacean
     Soc'y, 478 U.S. 221, 230 n. 4 (1986)). To the extent this proposition is applied here, as set out in detail
28   above, this Court lacks subject matter jurisdiction pursuant to the APA because Plaintiff concedes that
     there has been no final agency action.
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 1 certain; (2) the official's duty is nondiscretionary, ministerial, and so plainly prescribed as to be free

 2 from doubt; and (3) no other adequate remedy is available.” Kildare v. Saenz, 325 F.3d 1078, 1084 (9th

 3 Cir. 2003) (quoting Patel v. Reno, 134 F.3d 929, 931 (9th Cir. 1997)). Here, Plaintiff’s claim is not

 4 clear or certain, nor has it specified a nondiscretionary duty that Defendants failed to perform. In fact,

 5 the very nature of SEVP’s withdrawal process pursuant to 8 C.F.R. § 214.4(a)(2) is discretionary, and a

 6 mandamus claim is, therefore, inherently misplaced. When SEVP first issues a NOIW, the reasons for

 7 the possible withdrawal of SEVP certification are outlined in detail and the school is permitted to

 8 respond and is provided with detailed directions for doing so in the NOIW. SEVP then considers the

 9 school’s response in pursuing the issuance of a WON. This discretionary act gives SEVP the ability to
10 assess each situation and determine whether to issue a WON or allow the school to maintain SEVP

11 certification. Accordingly, as Plaintiff has not specified a nondiscretionary duty that Defendants failed

12 to perform, the court lacks jurisdiction under the MVA. See, e.g., Ober-Galos v. Napolitano, 2015 WL

13 394626, at *4 (N.D. Cal. Jan. 29, 2015) (holding that the court lacked jurisdiction where plaintiffs failed

14 to specify a nondiscretionary duty that defendants failed to perform) (citing Kassem v. Chertoff, 2009

15 WL 817642, at *6 (E.D. Cal. Mar. 27, 2009) (finding court lacked jurisdiction pursuant to MVA

16 because, even though plaintiff disagreed with outcome of petition, defendant had processed application

17 and thus plaintiffs failed to specify violation of nondiscretionary duty).

18          Moreover, Plaintiff has other means to obtain its desired relief. See Indep. Min. Co. v. Babbitt,

19 105 F.3d 502, 507 n.6 (9th Cir. 1997) (“we question the applicability of the traditional mandamus

20 remedy under the MVA where there is an adequate remedy under the APA”). SEVP has issued an

21 NOIW to ITU and afforded a telephonic interview, as outlined in the facts above, applying its discretion

22 and allowing ITU the opportunity to respond to SEVP’s allegations of noncompliance prior to revoking

23 its certification to enroll nonimmigrant students. If SEVP ultimately issues a WON to a school, the

24 school may appeal to the AAT within ICE, as ITU has done here. To the extent ITU disagrees with the

25 agency’s final determination, which has not yet been issued, it may file a claim in federal district court.

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 1                          (ii)    In the absence of subject matter jurisdiction pursuant to the
                                    Mandamus and Venue Act, this Court also lacks subject matter
 2                                  jurisdiction pursuant to the All Writs Act because it does not confer
                                    jurisdiction standing alone.
 3
            Courts have jurisdiction under the All Writs Act to “issue all writs necessary or appropriate in
 4
     aid of [our] jurisdiction[ ] and agreeable to the usages and principles of law.” 28 U.S.C. § 1651. “The
 5
     All Writs Act, 28 U.S.C. § 1651(a), empowers federal courts to issue writs of mandamus necessary to
 6
     protect their prospective jurisdiction.” 28 U.S.C. § 1651(a); Cal. Energy Comm'n v. Johnson, 767 F.2d
 7
     631, 634 (9th Cir. 1985). “[T]his judicial power is limited and is to be used in only the most extreme
 8
     circumstances.” Id. “The All Writs Act does not operate to confer jurisdiction and may only be invoked
 9
     in aid of jurisdiction which already exists.” Malone v. Calderon, 165 F.3d 1234, 1237 (9th Cir. 1999).
10
     Because ITU has failed to establish that this Court has subject matter jurisdiction pursuant to the MVA,
11
     as set out above, there is no basis for jurisdiction pursuant to the All Writs Act.
12
            ITU’s Mandamus and Venue Act and All Writs Act claim should be dismissed.
13
                    4.      The Declaratory Judgment Act Does Not Establish Federal Jurisdiction.
14
            Plaintiff’s attempt to establish that this Court has jurisdiction pursuant to the DJA fails. The
15
     DJA “is not an independent source of federal jurisdiction.” Schilling v. Rogers, 363 U.S. 666, 677
16
     (1960); see also Skelly Oil Co. v. Phillips Petroleum Co., 339 U.S. 667, 671-72 (1950). To the contrary,
17
     the DJA is “procedural only,” and does not establish subject matter jurisdiction. Cal. Shock Trauma Air
18
     Rescue v. State Comp. Ins. Fund, 636 F.3d 538 543 (9th Cir. 2011). Section 2201(a) provides, in part:
19
                    In a case of actual controversy within its jurisdiction...any court of the
20                  United States, upon the filing of an appropriate pleading, may declare the
                    rights and other legal relations of any interested party seeking such
21                  declaration, whether or not further relief is or could be sought. Any such
                    declaration shall have the force and effect of a final judgment or decree
22                  and shall be reviewable as such.

23          28 U.S.C. § 2201(a) (emphasis added).

24          Thus, the DJA does not expand the Court’s jurisdiction. Instead, it grants a remedy where

25 jurisdiction already exists. See id., see also Countrywide Home Loans, Inc. v. Mortg. Guar. Ins. Corp.,

26 642 F.3d 849, 853 (9th Cir. 2011) (“while the DJA expanded the scope of the federal courts’ remedial

27 powers, it did nothing to alter the courts’ jurisdiction”); see also Brownell v. Ketcham Wire & Mfg. Co.,

28 211 F. 2d 121, 128 (9th Cir. 1954). Moreover, it is well-established that the DJA does not constitute the

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 1 United States’ consent to be sued and it cannot be construed as a waiver of sovereign immunity. See

 2 Brownell, 211 F. 2d at 128; see also Burns Ranches v. Dep’t. of Interior, 851 F.Supp.2d 1267, 1271-72

 3 (D. Oregon 2012) (collecting cases and holding that Plaintiff failed to establish either a waiver of

 4 sovereign immunity or subject matter jurisdiction by way of its exclusive reliance on the DJA). Thus, if

 5 Plaintiff’s APA, Constitutional, Mandamus Act and All Writs Act claims are dismissed, the Court lacks

 6 jurisdiction to hear a stand-alone Declaratory Judgment claim.

 7           B.      Plaintiff Has Failed to State a Claim On Which Relief Can Be Granted

 8           Given that Plaintiff has failed to allege any final agency action that would provide this Court

 9 with subject matter jurisdiction pursuant to the APA’s limited waiver of sovereign immunity, or the
10 Mandamus and All Writs Act, it has also failed to state a claim on which relief can be granted.

11 Accordingly, it would be premature to reach any of Plaintiff’s other allegations in support for its Second,

12 Third and Fourth Claims for relief.

13           Even if Plaintiff had established subject matter jurisdiction, however, the due process allegations

14 it asserts in its First Claim for Relief fail to state a claim for relief.

15                   1.      Plaintiff Has Failed to Sufficiently Allege a Due Process Violation

16           Plaintiff’s due process allegations fail to state a claim for relief. The Due Process Clause of the

17 Fifth Amendment provides that no person shall “be deprived of life, liberty, or property, without due

18 process of law.” U.S. Const. amend. V. “‘A threshold requirement to a substantive or procedural due

19 process claim is the plaintiff’s showing of a liberty or property interest protected by the Constitution.’”

20 Ching v. Mayorkas, 725 F.3d 1149, 1155 (9th Cir. 2013) (quoting Wedges/Ledges of Cal., Inc. v. City of

21 Phoenix, 24 F.3d 56, 62 (9th Cir. 1994)); see Bd. of Regents of State of Colleges v. Roth, 408 U.S. 564,

22 569-70 (1972) (only “when protected interests are implicated, the right to some kind of prior hearing is

23 paramount. But the range of interests protected by procedural due process is not infinite.”).

24           Plaintiff alleges that Defendants violated the Due Process Clause “by failing to promptly return

25 the Privileged Report to ITU and by further possessing, concealing, reviewing, and using the Privileged

26 Report in the adjudication of ITU’s SEVP certification.” See Compl., ¶ 56. Plaintiff further alleges that

27 Defendants’ “unauthorized possession, review, and use of the Privileged Report causes ongoing harm to

28 ITU.” See Compl., ¶ 57. Plaintiff, however, has failed to exhaust its administrative remedies and,

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 1 further, has failed to state a claim for which relief can be granted.

 2          First, the Supreme Court has acknowledged the general rule that parties must exhaust prescribed

 3 administrative remedies before seeking relief from the federal courts. McCarthy v. Madigan, 503 U.S.

 4 140, 144-45 (1992), superseded by statute on other grounds. Where Congress has not required

 5 exhaustion, whether to require exhaustion is within the discretion of the district court. Id. at 144.

 6 Exhaustion is typically required because it serves the twin purposes of protecting administrative agency

 7 authority and promoting judicial efficiency. Id.

 8          Here, ITU has failed to exhaust its administrative remedies. It admits in its Complaint that “the

 9 final adjudication of ITU’s certification is not yet complete” and that it appealed the 2018 Withdrawal.
10 See Compl., ¶ 43, 50. That appeal is presently pending with the agency. Furthermore, Plaintiff has

11 failed to demonstrate any entitlement to waiver of the exhaustion requirement. Even if the allegations in

12 the Complaint could be read to implicate a constitutional due process right, no exception to the

13 requirement for administrative exhaustion applies. The Supreme Court has held that exhaustion is not a

14 prerequisite in those limited circumstances where “the constitutional claim is entirely collateral to [the]

15 substantive claim” and “raises ‘a colorable claim’ that an unfavorable administrative determination

16 would result in irreparable harm. Matthews v. Eldridge, 424 U.S. 319, 331 (1976); see Girard v.

17 Klopfenstein, 930 F.2d 738, 741 (9th Cir. 1991) (explaining the three part test to determine when

18 administrative exhaustion is not required: the claim at issue must be one, collateral to a substantive

19 claim of entitlement; two, colorable in its showing that refusal of relief will cause an injury which

20 retroactive payments cannot remedy; and three, a claim whose resolution would not serve the purposes

21 of exhaustion). Here, none of the exceptions to the exhaustion requirement apply. Moreover, Plaintiff’s

22 Complaint does not establish that requiring exhaustion would be futile. Plaintiff has not shown a

23 certainty of an adverse determination. Nor would Plaintiff suffer irreparable harm if the exhaustion

24 requirement were enforced against it.

25          Second, even if Plaintiff had exhausted its claims, its broad assertions that its due process rights

26 were violated do not satisfy Iqbal’s pleading requirements. “To survive a motion to dismiss, a

27 complaint must contain sufficient factual matter, accepted as true, to ‘state a claim for relief that is

28 plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). To state a

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 1 constitutional violation of a procedural due process right, a plaintiff must allege facts showing that he

 2 was deprived of a liberty or property interest that warrants due process protection. See Mathews v.

 3 Eldridge, 424 U.S. 319, 332 (1976). “A procedural due process claim has two elements: deprivation of

 4 a constitutionally protected liberty or property interest and denial of adequate procedural protection.”

 5 Krainski v. Nevada ex rel. Bd. of Regents of Nevada System of Higher Educ., 616 F.3 d 963, 970 (9th

 6 Cir.2010).

 7          Here, Plaintiff has failed to establish either of the two elements of this test. Notably, it has not

 8 and cannot establish a deprivation of its constitutionally protected liberty or property interest by way of

 9 any alleged invasion of the attorney-client privilege. Both the Supreme Court and the Ninth Circuit
10 have declined to recognize the attorney-client privilege, standing alone, as constitutionally protected.

11 See, e.g., Maness v. Meyers, 419 U.S. 449, 466 n.15, 95 S.Ct. 584, 42 L.Ed.2d 574 (1975) (“We are not

12 aware that the Court has even identified a ‘constitutionally protected attorney-client’ privilege....”);

13 Clutchette v. Rushen, 770 F.2d 1469, 1471 (9th Cir.1985) (“Standing alone, the attorney-client privilege

14 is merely a rule of evidence; it has not yet been held a constitutional right.”).

15          In addition, Plaintiff has failed to sufficiently allege any denial of adequate procedural protection

16 by way of an agency’s declination to return a document which was voluntarily provided to ICE and over

17 which ITU has asserted privilege during a still-pending administrative action. Not every deprivation of

18 liberty requires the full arsenal of available procedural safeguards. See Dixon v. Love, 431 U.S. 105,

19 115 (1977) (“[P]rocedural due process in the administrative setting does not always require application

20 of the judicial model.”). The relevant inquiry is not what additional procedures might be helpful, but

21 whether the existing procedures are constitutionally defective because they present an unreasonable risk

22 of an erroneous deprivation of the private interest, in light of the particular situation — in particular, the

23 government’s interest and the probable value of additional safeguards. See Clancy v. Office of Foreign

24 Assets Control of U.S. Dep’t of Treasury, 559 F.3d 595, 600 (7th Cir. 2008). Here, ITU acknowledged

25 that the administrative process is ongoing, and has failed to sufficiently allege that SEVP’s appeal

26 process is constitutionally defective.

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28          ///

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 1 VII.    CONCLUSION

 2         For the reasons stated above, Plaintiff’s Complaint should be dismissed.

 3 DATED: December 17, 2018                            Respectfully submitted,

 4
                                                       ALEX G. TSE
 5                                                     United States Attorney

 6                                                     /s Rebecca A. Falk
                                                       REBECCA A. FALK
 7                                                     Assistant United States Attorney
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